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 6
     Attorneys for Plaintiff THERESA BROOKE
 7
 8                           UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA
10
     THERESA BROOKE, a married woman
11   dealing with her sole and separate claim,       Case No: 2:18-cv-02087
12                        Plaintiff,                 STIPULATION OF DISMISSAL
13                                                   WITH PREJUDICE

14   vs.
15
     NEW EAST FRONTIERS, INC.,
16
                          Defendant.
17
18          The parties stipulate and agree to dismiss the above action with prejudice, with

19   each party to bear her/its own costs and attorneys’ fees.

20
            RESPECTFULLY SUBMITTED this 11th day of November, 2018.
21
22
                                                 /s/ Peter Kristofer Strojnik
23                                               Peter Kristofer Strojnik
                                                 Attorneys for Plaintiff
24
25
                                                 /s/ Rick Morin
26                                               Rick Morin
                                                 Attorneys for Defendant
27
28
